       Case 1:22-cr-00397-RMB              Document 221      Filed 02/20/25   Page 1 of 1

                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

  UNITED STATES OF AMERICA



                 v.



  STEPHEN BUYER,                                          22-cr-00397-RMB

                                 Defendant.




                                 NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that Daniel A. Rubens. of Orrick, Herrington & Sutcliffe LLP, hereby

enters his appearance as counsel on behalf of Defendant Stephen Buyer in the above captioned

matter.

I am admitted to practice in this Court.

Dated: February 20, 2025              /s/ Daniel A. Rubens
       New York, New York             Daniel A. Rubens

                                      ORRICK HERRINGTON & SUTCLIFFE LLP
                                      51 W. 52nd Street
                                      New York, New York 10019
                                      Telephone: (212) 506-3679
                                      drubens@orrick.com

                                      Counsel for Defendant Stephen Buyer




                                                 1
